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EXHIBIT N
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Thomas Sooy

Subject: FW: BCU1525 Refund Request
Attachments: karl-leng-forsell.xlsx

serene Forwarded message ---------

From: Jessica Gritzan <jessica@airsquirrels.com>
Date: Wed, 3 Apr 2019 at 21:07

Subject: Re: BCU1525 Refund Request

To: Karl-Leng Forsell <frsl@ftm!.net>

HI Karl,

Sorry for my delay. | didn’t have the record of the 2 smaller transfers on orders for SQRL. This is because the money was
actually sent to Allmine. Tom was able to confirm receipt though. There’s a slight difference in the two values. You show
$774,523.51 and our records indicated $744,373, I’ve attached the reconciled spreadsheet.

Best,
Jessica Gritzan
Squirrels LLC | SQRL

1.855.207.0927 x 7003

From: Kari-Leng Forsell <frsl@ftml.net>

Date: Wednesday, March 27, 2019 at 9:43 AM
To: Jessica Gritzan <jessica@airsquirrels.com>
Subject: Re: BCU1525 Refund Request

Hi Jessica,

Were you able to do the audit on your end?

| think that before we can proceed any further it's necessary that we agree on the total amount. If you have doubts
about any of the entries in my list | can provide you with official records from my bank.

1
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increment_id status
3302 refunded
3305 refunded
3307 refunded
3308 refunded
3309 refunded
3312 refunded
3313 refunded
3314 refunded
3315 refunded

2751 refund_reque
2785 refund_reque
2817 refund_reque
2896 refund_reque
2901 refund_requé
2902 refund_reque
2958 refund_reque
3281 refund_reque
3688 refund_reque

_Day sku
6/7/2018 bcui525-dim
6/7/2018 bcu1525-dim
6/7/2018 bcu1525-dim
6/7/2018 bcu1525-dim
6/7/2018 bcu1525-dim
6/7/2018 bcu1525-dim
6/7/2018 bcu1525-dim
6/7/2018 bcui1525-dim
6/7/2018 bcu1525-dim

6/7/2018 bcu1525-dim
6/8/2018 bcu1525-dim
6/9/2018 bcui525-dim
6/13/2018 bcu1525-dim
6/13/2018 bcul525-dim
6/13/2018 beu1525-dim
6/18/2018 beu1525-moc
6/29/2018 bcul525-moc
6/7/2018 bceui525-dim

4 frsi@ftmi.net
4 frsl@ftmi.net
4 frsl@ftml.net
4 frsi@ftml.net
4 frsi@ftml.net
4 frsi@ftmL net
4 frsi@ftmi.net
4 frsi@ftml.net
4 frsl@ftml.net

4 frsl@ftmi.net
4 frsl@ftml.net
10 frsl@ftml.net
10 frsl@ftmi.net
52 frsl@ftml.net
30 frst}@ftml.net
19 frsi@ftmi.net
50 frsl@ftml.net
A frsi@ftml.net

qty_ordered customer_en base_price

3600
3600
3600
3600
3600
3600
3600
3600
3600

3600
3600
3600
3600
3600
3600
3350
3350
3600
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grand_total method Previous order number

S$ 14,530.60 fpgaland 1042 HN/A Refunded
S$ 14,530.60 fpgaland 1076 HN/A Refunded
§ 14,530.60 fpgaland 1084 14530.64 Refunded
§ 14,530.60 fpgaland 1087 14530.64 Refunded
S 14,530.60 fpgaland 1090 14530.64 Refunded
§ 14,530.60 fpgaland 1094 =. 14530.64 Refunded
S 14,530.60 fpgaland 1097 14530.64 Refunded
S 14,530.60 fpgaland 1098 14530.64

S 14,530.60 fpgaland 1099 44530.64

$ 130,775.40

S 14,530.60 fpgaland 1119 14530.64 FPGALNAD
S 14,530.60 fpgaland 1121 14530.64 FPGALNAD
S 36,224.10 fpgaland 1247 36224,06 FPGALNAD
S 36,224.10 fpgaland 1395 36224.06 FPGALNAD
S 187,973.00 fpgaland 1405 = 187973.09 FPGALNAD
S 108,411.00 fpgaland 1406 108410.8 FPGALNAD
S 63,949.60 fpgaland 1505 63949,58 FPGALNAD
S 167,500.00 SQRL 2981 167500 FPGALNAD
$ 14,530.60 fpgaland 1174  14530.64 SQRL
$ 67,000.00 SQRL
S$ 63,500.00 SQRL

S 774,373.60
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Date Order No. Amount Method Refunded on
8/6/2018 1084 $14,530.64 PayPal 19/08/2018 1084
8/6/2018 1087 $14,530.64 PayPal 19/08/2018 1087
8/6/2018 1090 $14,530.64 PayPal 19/08/2018 1090
8/6/2018 1094 $14,530.64 PayPal 19/08/2018 1094
8/6/2018 1097 $14,530.64 PayPal 19/08/2018 1097
8/6/2018 1098 $14,530.64 PayPal 19/08/2018 1098
8/6/2018 1099 $14,530.64 PayPal 19/08/2018 1099

$101,714.48

Date Order No. Amount Method
8/6/2018 1119 $ 14,530.64 Coinbase 1119
8/6/2018 1121 $ 14,530.64 Coinbase 1121
9/6/2018 1174 $ 14,530.64 Manual 1174
10/6/2018 1247 $3 36,224.06 Coinbase 1247
3/6/2018 1395 $ 36,224.06 Coinbase 1395
13/06/2018 1405 $ 187,973.09 Bank deposit 1405
14/06/2018 1406 $ 108,410.80 Bank deposit 1406
18/06/2018 1505 $ 63,949.58 Bank deposit 1505
17/06/2018 2860 $ 67,000.00 SQRL N/A
18/06/2018 2865 $ 63,650.00 SQRL #N/A
26/06/2018 2981 $ 167,500.00 SOQRL 2981

$774,523.51

